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                        EXHIBIT C
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  US7079752                                                              Red Bull
1. A process      Red Bull supports HLS streaming protocol (“the Standard”). In addition, Red Bull utilizes HLS for delivery of
for recording,    contents to its customers/viewers. As shown below, a video content from Red Bull is streamed and the data traffic
on a recording    is captured showing the media format as HLS, the m3u8 file (e.g., the Media playlist file comprising links to
medium, a         content chunks in .m4s format used by HLS to contain information about the media playing), and the encryption
scrambled         scheme used by the streamed video. In addition, the HLS stream provided through Red Bull provides trick mode
digital video     operation (e.g., 10 sec reverse and 10 sec forward trick mode or various play back speed such as 0.75, 1.25, etc.) to
stream,           the streamed video.
implementing
the following     On information and belief, Defendant performs all steps of this claim or, alternatively, to the extent a user performs
steps, in         any step, Defendant conditions the user’s use of the Defendant’s accused instrumentalities using the Standard on
addition to the   the performance of that step as disclosed herein. For example, on information and belief, a user cannot use the
recording of      accused instrumentality utilizing the Standard as described in this claim chart without performance of the steps
the scrambled     recited in this claim. By providing the accused instrumentality utilizing the Standard as disclosed herein, Defendant
data:             also controls the manner and/or timing of the functionality described in this claim chart. In other words, for a user
                  to utilize the functionality described in this claim chart, the steps of this claim must be performed in the manner
                  described herein. Without performance of the steps as described herein, the Defendant’s functionality will not be
                  available to users.


                  The Standard practices a process for recording (e.g., recording by means of downloading in a storage), on a
                  recording medium (e.g., a storage mechanism), a scrambled digital video stream (e.g., scrambled video created by
                  making use of AES 128 encryption), implementing the following steps, in addition to the recording of the
                  scrambled data.
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https://www.redbull.com/us-en/discover
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https://www.redbull.com/us-en/episodes/fast-life-s5-e1

Shown below is the URL of .m3u8 master file sent by Red Bull server which identifies the usage of HLS based
streaming by Red Bull servers. The m3u8 master file refers to all the variants of the video encoded for various
bandwidths and resolutions. The URL of .m3u8 master file is: https://dms.redbull.tv/v3/AA-
27AGS9RY51W11/eyJhbGciOiJIUzI1NiIsInR5cCI6IkpXVCJ9.eyJjYXRlZ29yeSI6InBlcnNvbmFsX2NvbXB1dG
VyIiwiY291bnRyeV9jb2RlIjoiaW4iLCJleHBpcmVzIjoiMjAyMi0wMy0xOVQxMToyOToxNC4xMTMwNjEzNT
VaIiwibG9jYWxlIjoiZW4iLCJvc19mYW1pbHkiOiJodHRwIiwicmVtb3RlX2lwIjoiMy4xMjIuNjkuMTQiLCJ1YS
I6ImF4aW9zLzAuMjYuMCIsInVpZCI6ImQzYzNmYTg0LTBjOGQtNDlhYi1hOWQ0LWQwN2Y3ZDQxY2M0
MiJ9.LcDnp9m_8x7tP0HIqwQywMe3Sox1dJx2ho88X3Bj-W8/playlist.m3u8
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Source: Packet capturing by fiddler tool
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Source: Packet capturing by fiddler tool
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Source: Packet capturing by fiddler tool

Red Bull streams videos with the capability of being played with trick mode (e.g., 10 Sec reverse and 10 sec
forward trick mode or various playback speed of 0.75, 1.25, etc.)
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https://www.redbull.com/us-en/episodes/fast-life-s5-e1

Red Bull streams scrambled/encrypted content making use of AES 128 encryption.
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Source: Packet capturing by fiddler tool
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https://tools.ietf.org/html/rfc8216
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https://tools.ietf.org/html/rfc8216
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https://tools.ietf.org/html/rfc8216




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https://tools.ietf.org/html/rfc8216
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https://tools.ietf.org/html/rfc8216
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https://developer.apple.com/documentation/http_live_streaming
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                 https://broadpeak.tv/blog/how-apple-hls-is-strengthening-its-hand-in-the-abr-game-with-ll-hls/


descrambling     The HLS standard practices descrambling (e.g., decrypting the received encrypted video segments) of said
of said          scrambled data of said stream (e.g., scrambled video segments) so as to extract therefrom additional data (e.g.,
scrambled        information related to the video segments for trick mode) corresponding to information required by a function of
data of said     the special mode or “trick mode.”
stream so as
to extract
therefrom
additional
data
corresponding
to information
required by at
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least one
function of
the special
mode or “trick
mode” (fast
forward, fast
rewind,
accelerated
motion, slow
motion, etc.);
and



                 Source: Packet capturing by fiddler tool
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https://www.geeksforgeeks.org/advanced-encryption-standard-aes/
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https://www.geeksforgeeks.org/advanced-encryption-standard-aes/
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Source: Packet Capturing by Fiddler Tool
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Source: Packet Capturing by Fiddler Tool
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Source: Packet Capturing by Fiddler Tool
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               https://www.redbull.com/us-en/episodes/fast-life-s5-e1

recording of   The product complying with the Standard practices recording of these additional data on the recording medium
these          (e.g., downloading/buffering trick play information to enable trick play mode rendering).
additional
data on the    The product must store the data pertaining to trick modes to allow the playback of the video in trick modes.
recording
medium.
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https://www.redbull.com/us-en/episodes/fast-life-s5-e1
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Source: Packet Capturing by Fiddler Tool
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Source: Packet Capturing by Fiddler Tool
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Source: Packet Capturing by Fiddler Tool
